
627 So.2d 593 (1993)
L.J.H., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 92-03692.
District Court of Appeal of Florida, Second District.
December 3, 1993.
James Marion Moorman, Public Defender, and Kevin Briggs, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Dell H. Edwards, Asst. Atty. Gen., Tampa, for appellee.
HALL, Acting Chief Judge.
L.J.H. appeals the order requiring her to pay restitution in the total amount of *594 $1058.00 at the rate of $88.00 per month. She contends the trial court erred in not conditioning the payment of restitution upon her obtaining earnings from employment that will enable her to comply with the order. J.M.H. v. State, 589 So.2d 394 (Fla. 1st DCA 1991). We agree.
Accordingly, we affirm the order of restitution but remand with directions that it be modified to make payment contingent upon obtaining earnings from employment, which L.J.H. must make every reasonable effort to secure.
THREADGILL and BLUE, JJ., concur.
